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15
                                      UNITED STATES DISTRICT COURT
16
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
17

18
      SUSAN JOHNSON, individually and on behalf of
      all others similarly situated,                            Civil Case No.: 3:20-cv-08183-LB
19

20           Plaintiff,
                                                                DEFENDANTS BLUE NILE, INC. AND
21                                                              FULLSTORY, INC.’S MOTION TO
             v.
                                                                DISMISS PLAINTIFF’S SECOND
22                                                              AMENDED COMPLAINT PURSUANT
      BLUE NILE, INC., and FULLSTORY, INC.,
                                                                TO FEDERAL RULES OF CIVIL
23                                                              PROCEDURE 12(b)(1), 12(b)(2), AND
             Defendants.
                                                                12(b)(6)
24

25                                                              Hearing Date: July 29, 2021
                                                                Hearing Time: 9:30 a.m.
26
                                                                Honorable Laurel Beeler
27

28

                          DEFENDANTS BLUE NILE, INC. AND FULLSTORY, INC.’S MOTION TO DISMISS
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28                             DEFENDANTS BLUE NILE, INC. AND FULLSTORY, INC.’S MOTION TO DISMISS
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 1                            NOTICE OF MOTION AND MOTION TO DISMISS
 2          PLEASE TAKE NOTICE that on July 29, 2021, at 9:30 a.m., or as soon thereafter as available,
 3   in the courtroom of the Honorable Laurel Beeler, located at 450 Golden Gate Avenue, Courtroom B,
 4   15th Floor, San Francisco, California 94102, defendants Blue Nile, Inc. (“Blue Nile”) and FullStory,
 5   Inc. (“FullStory”), will and hereby do move to dismiss plaintiff’s second amended complaint (Dkt. 53)
 6   pursuant to Federal Rules of Civil Procedure, 12(b)(1), 12(b)(2), and 12(b)(6). This motion is based on
 7   this Notice of Motion and Motion, the Memorandum of Points and Authorities, the Declaration of
 8   Matthew Q. Verdin and accompanying exhibits, the pleadings and papers on file in this action, any other
 9   such matters of which the Court may take judicial notice, and any other matter that the Court may
10   properly consider.
11                                     STATEMENT OF RELIEF SOUGHT
12          Blue Nile and FullStory seek an order dismissing the claims against them with prejudice for lack
13   of subject matter jurisdiction, lack of personal jurisdiction, and failure to state a claim upon which relief
14   can be granted.
15                                 STATEMENT OF ISSUES TO BE DECIDED
16          1.      Whether this Court should dismiss the claims in this action against Blue Nile and
17   FullStory for failure to state a claim upon which relief can be granted under Federal Rule of Civil
18   Procedure 12(b)(6).
19          2.      Whether this Court should dismiss plaintiff’s claim under section 635(a) of the California
20   Invasion of Privacy Act for lack of subject matter jurisdiction pursuant to Federal Rule of Civil
21   Procedure 12(b)(1).
22          3.      Whether this Court should dismiss Blue Nile and FullStory from this action for lack of
23   personal jurisdiction pursuant to Federal Rule of Civil Procedure 12(b)(2).
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28                        DEFENDANTS BLUE NILE, INC. AND FULLSTORY, INC.’S MOTION TO DISMISS
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 1                            MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           FullStory is a vendor that offers software-based services to help its clients improve the design
 4   and user experience on their websites. Blue Nile is an online company, and a client of FullStory, that
 5   helps consumers find engagement rings and jewelry at a great value. Blue Nile uses FullStory’s
 6   software to collect information about, and later analyze, what visitors are doing on its website
 7   (bluenile.com), such as mouse clicks and keystrokes, so that it can better understand its visitors’
 8   experience. Plaintiff seeks to criminalize this routine use of a vendor to provide client services,
 9   characterizing FullStory’s services as wiretapping (i.e., eavesdropping) in violation of her right to
10   privacy under California’s Invasion of Privacy Act. The Court should dismiss plaintiff’s third complaint
11   alleging these meritless claims for the same reasons it dismissed the prior complaint, but this time with
12   prejudice.
13           First, plaintiff’s new complaint continues to suffer from the same defect that plagued the prior
14   complaints: the failure to plausibly allege that FullStory eavesdropped on plaintiff’s communications
15   with Blue Nile. As this Court held in dismissing the prior complaint, “as a service provider, FullStory is
16   an extension of [Blue Nile],” a party to the communication, and therefore “is not a third-party
17   eavesdropper.”1 Graham v. Noom, Inc., 2021 WL 1312765, at *5 (N.D. Cal. Apr. 8, 2021); Blue Nile,
18   2021 WL 1312771, at *2. Plaintiff’s new complaint does not undercut this holding because plaintiff
19   does not allege that FullStory stepped out of its role as a service provider to Blue Nile, or that it sold
20   plaintiff’s information to third parties (it did not). Rather, plaintiff alleges in more detail how
21   FullStory’s software collects and analyzes website data for its clients, reinforcing factual allegations that
22   this Court already accepted as true in its prior order. While plaintiff’s complaint suffers from other
23   defects, this defect permeates, and is fatal to, all of plaintiff’s claims.
24

25   1
      The Court’s order in Blue Nile incorporates the reasoning of the Court’s order in the related case,
26   Noom, regarding plaintiff’s two claims and asserted personal jurisdiction over defendants. Johnson v.
     Blue Nile, 2021 WL 1312771, at *2 (N.D. Cal. Apr. 8, 2021) (“The reasoning in Graham v. Noom
27   controls here[.]”). Accordingly this motion cites to the Noom order, as incorporated into the Blue Nile
     order, for the Court’s applicable reasoning.
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 1           Second, plaintiff fails to carry her burden to show that either Blue Nile, a Washington-based
 2   company incorporated in Delaware, or FullStory, a Georgia-based company incorporated in Delaware, is
 3   subject to personal jurisdiction in California. Plaintiff continues to predicate personal jurisdiction over
 4   Blue Nile and FullStory on the same deficient eavesdropping allegations that run through each of
 5   plaintiff’s claims. For that reason, the Court should reach the same conclusion as it did in its prior order
 6   and find that, without the eavesdropping claims, there is no personal jurisdiction over either defendant.
 7   Id. at *3.
 8   II.     BACKGROUND
 9           This Lawsuit. In November 2020, plaintiff filed this putative class-action lawsuit against
10   FullStory, a Georgia-based company, which provides a software-based service to help its client, Blue
11   Nile, improve the design and user experience on its website. Dkt. 1 (“Compl.”) ¶ 15. Blue Nile
12   embedded FullStory’s software code on its website (bluenile.com), which in turn collects certain data
13   about visitors who interact with the website (e.g., keystrokes, mouse clicks). Second. Am. Compl. ¶ 44.
14   FullStory’s software allows Blue Nile to later analyze a visitor’s interactions with its website, including
15   through a session replay feature that provides a “high-fidelity reproduction of a person’s experience” on
16   the website (i.e., “it’s not video”). Id. ¶¶ 19–21.2 While a visitor is still on the site, Blue Nile can see
17   the reproduction “in near,” but not in actual, “real time.” Id. ¶ 34.
18           Plaintiff’s core allegation is that FullStory eavesdropped on—and that Blue Nile aided and
19   abetted the eavesdropping of—plaintiff’s communications with Blue Nile when she visited Blue Nile’s
20   website. See id. ¶¶ 85–98. She asserts that this conduct violated her right to privacy under California’s
21   Invasion of Privacy Act (“CIPA”). Id.
22           The Court’s Dismissal of Plaintiff’s Amended Complaint. In April 2021, the Court granted
23   defendants’ motion to dismiss plaintiff’s amended complaint, holding that plaintiff failed to plausibly
24   allege that FullStory was a third-party eavesdropper. Blue Nile, 2021 WL 1312771, at *2. The Court
25
     2
26     Declaration of Matthew Q. Verdin (“Verdin Decl.”) Ex. A at 4 (webpage explaining with respect to the
     feature that “it’s not video, but a high-fidelity reproduction of a person’s experience”). This webpage is
27   incorporated by reference into the second amended complaint. See Second Am. Compl. ¶ 26 n.4 (citing
     webpage); Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010).
28                      DEFENDANTS BLUE NILE, INC. AND FULLSTORY, INC.’S MOTION TO DISMISS
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 1   reasoned that, “as a service provider, FullStory is an extension of [Blue Nile],” a party to the
 2   communications with plaintiff. Noom, 2021 WL 1312765, at *5. “It provides a tool—like the tape
 3   recorder in Rogers [v. Ulrich, 52 Cal. App. 3d 894 (1975)]—that allows [Blue Nile] to record and
 4   analyze its own data in aid of [Blue Nile’s] business.” 2021 WL 1312765, at *5. The Court
 5   distinguished the conduct of defendants that courts have found to be third-party eavesdroppers, where
 6   the defendants “were independent parties who mined information from other websites and sold it.” Id.
 7   Because FullStory used plaintiff’s data only in its capacity as a service provider to its client, Blue Nile,
 8   the Court held that FullStory “is not a third-party eavesdropper.” Id. The Court granted leave to amend
 9   (except as to plaintiff’s withdrawn claim three, which the Court dismissed with prejudice). Blue Nile,
10   2021 WL 1312771, at *3.
11           Plaintiff’s Second Amended Complaint. Plaintiff filed a second amend complaint, which adds
12   new allegations reinforcing the Court’s conclusion that FullStory used plaintiff’s data only in its
13   capacity as a service provider to its client, Blue Nile. Plaintiff alleges in more detail how FullStory’s
14   software collects and analyzes website data for its clients—factual allegations that this Court already
15   accepted as true in its prior order. Second Am. Compl. ¶¶ 47, 54–55. Plaintiff also alleges that “some
16   implementations” of FullStory’s software have the capability to use other data a client provides to allow
17   a client to better analyze its own data; however, plaintiff does not allege that such a capability is
18   included or used in Blue Nile’s implementation of FullStory’s software. Id. ¶¶ 49–52. In other words,
19   “[a]t the base level,” plaintiff alleges that “FullStory analyzes data in order to index it for its clients.” Id.
20   ¶ 49 (emphasis added). There are no allegations that FullStory acted as an “independent part[y]” that
21   “mined information” about plaintiff “and sold it,” or that FullStory otherwise stepped out of its role as a
22   service provider to Blue Nile. Noom, 2021 WL 1312765, at *5.3
23

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26   3
      The second amended complaint quotes Blue Nile’s privacy policy (Second Am. Compl. ¶¶ 67–73), two
27   patents (Id. ¶¶ 47–52), and FullStory’s Partner Terms and Conditions (Id. ¶ 54), which are incorporated
     by reference into the complaint. Daniels-Hall, 629 F.3d at 998; Dkt. 45-1; Verdin Decl. Exs. B–D.
28                      DEFENDANTS BLUE NILE, INC. AND FULLSTORY, INC.’S MOTION TO DISMISS
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 1   III.   ARGUMENT
 2          The second amended complaint is plaintiff’s third attempt to criminalize the routine software-

 3   based services that FullStory provides to its client (Blue Nile). It should be her last. Plaintiff alleges the

 4   same deficient claims: (1) eavesdropping (Cal. Penal Code § 631(a)) and (2) sale or possession of

 5   eavesdropping software (Id. § 635(a)). Second Am. Compl. ¶¶ 85–107. The Court should dismiss

 6   plaintiff’s claims with prejudice for two principal reasons. First, plaintiff again fails to plausibly allege

 7   a critical element of each claim: eavesdropping by FullStory. Without this critical element, plaintiff

 8   fails to state any claim upon which relief can be granted, and lacks Article III standing to pursue her

 9   claim for the sale or possession of eavesdropping software. Second, plaintiff fails to meet her prima

10   facie burden to establish personal jurisdiction over Blue Nile and FullStory because she continues to

11   predicate jurisdiction on the same deficient eavesdropping allegations.

12          A.      The Second Amended Complaint Fails to State a Claim.
13                  1.      Plaintiff Fails to State an Eavesdropping Claim Under Section 631(a).
14          Plaintiff’s eavesdropping claim continues to suffer from the same fatal flaws as the last two
15   iterations. Section 631(a) prohibits only unauthorized, third-party access to the contents of an ongoing
16   communication, otherwise known as eavesdropping. Brodsky v. Apple Inc., 445 F. Supp. 3d 110, 125–
17   27 (N.D. Cal. 2020). Plaintiff fails to state an eavesdropping claim because (a) FullStory was not a
18   third-party eavesdropper on plaintiff’s communications; (b) because Blue Nile was a party to the
19   communication, it cannot be held liable for aiding and abetting eavesdropping; (c) plaintiff predicates
20   the claim, at least in part, on non-content information, and (d) Blue Nile’s privacy policy disclosed that
21   service providers like FullStory may collect information on how visitors interact with Blue Nile’s
22   website.
23                          a)      FullStory Was Not a Third-Party Eavesdropper on Plaintiff’s
                                    Communications with Blue Nile.
24
            Plaintiff again fails to plausibly allege that FullStory was a third-party eavesdropper, as required
25
     to state a claim under section 631(a). Section 631(a) prohibits only the “secret” monitoring of a private
26
     conversation, and “[i]t is never a secret to one party to a conversation that the other party is listening to
27
     the conversation; only a third party can listen secretly to a private conversation.” Rogers v. Ulrich, 52
28                       DEFENDANTS BLUE NILE, INC. AND FULLSTORY, INC.’S MOTION TO DISMISS
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 1   Cal. App. 3d 894, 899 (1975). Thus, section 631(a) does not extend liability to a person “who is a
 2   ‘party’ to the communication.” In re Facebook, Inc. Internet Tracking Litig., 956 F.3d 589, 607 (9th
 3   Cir. 2020) (“Facebook III”) (citing Warden v. Kahn, 99 Cal. App. 3d 805, 811 (1979) (“[S]ection
 4   631 . . . has been held to apply only to eavesdropping by a third party and not to recording by a
 5   participant to a conversation.”)).
 6          Rogers is instructive. In that case, a city employee had a phone company install a “tape recorder
 7   jack” on his phone so that he could, for example, record conversations and “relay parts of [those]
 8   conversations . . . to local radio stations for broadcast.” 52 Cal. App. 3d at 897. When a candidate for
 9   city council learned that the city employee recorded their conversation without his knowledge, he
10   brought a claim against the city employee under section 631(a). Id. at 896. The Rogers court affirmed
11   dismissal of the claim, holding that the city employee could not be liable because section 631(a) does
12   not prohibit “the recording of a conversation made by a participant rather than by a third party.” Id. at
13   898 (reasoning that a participant recording does not involve “tapping the line,” “making an unauthorized
14   connection with the line,” or “intercepting the message while in transit.”); see also, e.g., Membrila v.
15   Receivables Performance Mgmt., LLC, 2010 WL 1407274, at *2 (S.D. Cal. Apr. 6, 2010) (holding that a
16   defendant debt collector could not be liable for recording and monitoring phone calls with the plaintiff
17   because the defendant was a party to the communications).
18          FullStory offers website operators the modern-day equivalent of the phone company’s tape
19   recorder in Rogers and, thus, cannot be a third-party eavesdropper. FullStory is a vendor that provides a
20   software-based service that allows its client, Blue Nile, to capture a user’s interactions with its website,
21   host the data on FullStory’s servers, and view and analyze the information. Second Am. Compl. ¶¶ 45,
22   48. In other words, as this Court observed, FullStory “provides a tool—like the tape recorder in
23   Rogers—that allows [Blue Nile] to record and analyze its own data in aid of [Blue Nile]’s business.”
24   Noom, 2021 WL 1312765, at *5. Just as the tape recorder in Rogers was an extension of the city
25   employee, “as a service provider, FullStory is an extension of [Blue Nile].” See id. And because
26   FullStory is an extension of Blue Nile, which is a party to the communications at issue, FullStory “is not
27   a third-party eavesdropper.” Id.
28                      DEFENDANTS BLUE NILE, INC. AND FULLSTORY, INC.’S MOTION TO DISMISS
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 1           Nowhere does plaintiff allege in her new complaint that FullStory used plaintiff’s data for any
 2   purpose other than in its capacity as a service provider to Blue Nile. Plaintiff does not, for example,
 3   allege that FullStory sold her data, used it for advertising purposes, or disclosed it to any third party.
 4   Indeed, plaintiff alleges precisely the opposite. She alleges that FullStory offers software-as-a-service;
 5   that is, Blue Nile is effectively renting space on FullStory’s servers where Blue Nile can store data
 6   related to website interactions and view that data using FullStory’s dashboard. See Second Am. Compl.
 7   ¶ 10. This is no different in kind than if the defendant in Rogers had used FullStory’s software-based
 8   service to record, store, listen to, and analyze his conversations with the plaintiff there. That FullStory’s
 9   software-based service is more advanced than a tape recorder—and “not a simple tape recorder,” as in
10   Rogers, see Second Am. Compl. ¶ 55—is immaterial. The basis for this Court’s prior order was
11   plaintiff’s failure to allege that FullStory stepped out of its role as Blue Nile’s vendor and “used the data
12   [for] itself.” Noom, 2021 WL 1312765, at *5. Plaintiff has not cured that deficiency here, nor could
13   she.
14           To the contrary, the new allegations reinforce that FullStory, “[a]t the base level,” used
15   plaintiff’s data “for its client[],” Blue Nile. See Second Am. Compl. ¶ 49. Specifically, plaintiff alleges
16   that FullStory’s software “transmits consumers’ data to FullStory for storage,” and that FullStory
17   “analyzes [the] data . . . for its clients,” and thus necessarily “has access to the [data].” Id. ¶¶ 47, 49,
18   54–55 (emphasis added). But this Court’s prior order already accepted as true that FullStory’s software
19   collects data from Blue Nile’s website and analyzes such data (and thus necessarily has access to it) on
20   Blue Nile’s behalf. See Noom, 2021 WL 1312765, at *1 (“[FullStory] provides software to its clients
21   (including [Blue Nile]) to capture and analyze data so that the clients can see how visitors are using their
22   websites.”). These new allegations therefore do not undercut—and indeed support—the Court’s
23   conclusion in its prior order that FullStory, as a service provider, is an extension of Blue Nile, not a
24   third-party eavesdropper. See id. at 5.
25           FullStory’s alleged conduct is thus far afield from the conduct of defendants that courts have
26   found to be third-party eavesdroppers. In Facebook III, for example, the Ninth Circuit held that
27   Facebook could not avail itself of the party exception where Facebook used plug-ins to track the web
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 1   browsing activity of logged-out Facebook users on third-party websites, which Facebook compiled and
 2   “sold to advertisers to generate revenue.” 956 F.3d at 596. And in Moosejaw, the district court held that
 3   NaviStone, too, could not avail itself of the party exception, where NaviStone allegedly used embedded
 4   code to capture the data of visitors to an e-commerce website, which NaviStone used to de-anonymize
 5   other data and sell the resulting consumer information to third parties. See Revitch v. New Moosejaw,
 6   LLC, 2019 WL 5485330, at *1 (N.D. Cal. Oct. 23, 2019).4 As this Court observed, Facebook and
 7   NaviStone “were independent parties who mined information from other websites and sold it.” See
 8   Noom, 2021 WL 1312765, at *5. Plaintiff makes no such allegations regarding FullStory in her new
 9   complaint.
10          Finally, plaintiff cites a FullStory patent describing certain enhanced capabilities of its software
11   “[i]n some implementations.” Second Am. Compl. ¶ 52; see also id. ¶¶ 49–51. But this, too, fails to
12   show that FullStory used plaintiff’s data for any purpose other than in service of Blue Nile. As an initial
13   matter, plaintiff fails to allege that such capabilities are or were included in Blue Nile’s implementation
14   of FullStory’s software, or that such capabilities were used with respect to plaintiff’s data. See Ashcroft
15   v. Iqbal, 556 U.S. 662, 679 (2009) (facts must show “more than the mere possibility of misconduct” to
16   be plausible). In addition, the technology described in the cited patent simply improves the analytics
17   that FullStory’s software provides to a client: the technology provides the capability to combine data
18   collected from a website with other data that the client provides, such as a user’s historical purchase
19   information, so that the client can better analyze its own data.5 Id. ¶¶ 49–52. For example, a client may
20   want to analyze “how different types of users prefer to interact with a given website,” and may use this
21   capability to review only “session information related to users that had a historical purchase value of less
22
     4
      Second Amended Complaint of Revitch at ¶¶ 24, 29, Revitch v. New Moosejaw, LLC, No. 18-cv-06827
23
     (N.D. Cal. May 22, 2019), ECF No. 43. (alleging that NaviStone uses data collected from one website to
24   de-anonymize visitors to other websites, and that it provides marketing services to its clients using this
     de-anonymized data); see also id. ¶¶ 1, 9–46.
25   5
       The patented technology does not, as plaintiff alleges, provide the capability to “obtain data from other
26   third-party applications.” Second Am. Compl. ¶ 52. Rather, as explained in the language that
     immediately follows this allegation, which plaintiff quotes from FullStory’s patent, FullStory provides
27   the capability to obtain data only “from the publisher’s [i.e., website operator’s] data store.” Id.
     (plaintiff’s emphasis omitted).
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 1   than $X.” Verdin Decl. Ex. B col. 25 ll. 12-19. These allegations, to the extent relevant to Blue Nile’s
 2   implementation of FullStory’s software, thus further support the conclusion that FullStory acted only in
 3   its capacity as Blue Nile’s service provider.
 4           Accordingly, because Blue Nile was a party to plaintiff’s communications, and FullStory, as
 5   service provider, is an extension of Blue Nile, FullStory is not a third-party eavesdropper and cannot be
 6   held liable under section 631(a).
 7                          b)      Blue Nile Cannot Be Held Liable for Aiding and Abetting
                                    Eavesdropping.
 8
             Blue Nile cannot be liable for aiding and abetting FullStory’s alleged eavesdropping because, as
 9
     the Court held in dismissing the prior complaint, “there is no wrongdoing” to aid and abet. Blue Nile,
10
     2021 WL 1312771, at *2. Even if plaintiff had plausibly alleged eavesdropping by FullStory, Blue Nile
11
     still cannot be liable under an aiding-and-abetting theory of liability. “Published cases are in accord that
12
     section 631 applies only to third parties and not participants [to a communication]” under the well-
13
     established party exception. Powell v. Union Pac. R.R. Co., 864 F. Supp. 2d 949, 955 (E.D. Cal. 2012).
14
     The only court to grapple with the “settled nature” of this California precedent, and the rule of lenity that
15
     applies to section 631 as a penal statute, held that a party to a communication cannot aid and abet
16
     eavesdropping of its own communications. Id. at 954–56. Revitch is an outlier. In that case, the Court
17
     failed to reconcile the contrary view, which was based on dicta, with the party exception or the rule of
18
     lenity. 2019 WL 5485330, at *2 n.1. Accordingly, Blue Nile, as an alleged party to plaintiff’s
19
     communications (Second Am. Compl. ¶ 77), cannot be held liable under an aiding-and-abetting theory
20
     of liability.
21
                            c)      The Eavesdropping Claim Fails to the Extent It Is Predicated on Non-
22                                  Content Information.

23           As before, the Court should dismiss plaintiff’s section 631(a) claim to the extent it is predicated

24   on non-content information. Section 631(a) prohibits only the unauthorized collection of the “contents”

25   of any communications. Cal. Penal Code § 631(a) (emphasis added). As the Court previously noted,

26   “[t]he ‘content’ of a communication is ‘the intended message conveyed by the communication.’” Noom,

27   2021 WL 1312765, at *6 (quoting In re Zynga Priv. Litig., 750 F.3d 1098, 1106 (9th Cir. 2014)). The

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 1   Court previously dismissed plaintiff’s section 631(a) claim “to the extent that it is predicated on non-
 2   content information.” Blue Nile, 2021 WL 1312771, at *2. And it directed that, “[i]n any amended
 3   complaint,” plaintiff was to “delineate content from non-content records.” Id. Plaintiff has repeated her
 4   error by again purporting to base her section 631(a) claim, at least in part, on non-content information.
 5          First, plaintiff flouts this Court’s order by including a catch-all allegation that “any . . .
 6   information Plaintiff intentionally provided to Blue Nile while on the website” constitutes “content.”
 7   Second Am. Compl. ¶ 93. This is plainly overbroad. For example, plaintiff alleges that FullStory’s
 8   software collects IP addresses, which plaintiff has already conceded is “not . . . actionable under CIPA.”
 9   Dkt. 39 at 10; see, e.g., In re Zynga Priv. Litig., 750 F.3d at 1107 (explaining that contents do not
10   include record information, such as addresses, generated in the course of the communication).
11          Second, plaintiff incorrectly asserts that the “webpages and URLs” she visited are content. See
12   Second Am. Compl. ¶ 93. The Ninth Circuit has held that such data “does not constitute the contents of
13   a communication” unless it contains “a search term or similar communication made by the user,” as may
14   be present in a URL when using a search engine. In re Zynga, 750 F.3d at 1108–09. Plaintiff has not
15   alleged that the webpages or URLs at issue here contain such information, for example, by alleging “that
16   the URLs . . . could emanate from search terms inputted into a third-party search engine.” Facebook III,
17   956 F.3d at 605. Rather, plaintiff alleges, at most, that the webpages and URLs she visited “revealed
18   only that [she] had clicked on a link” on Blue Nile’s website. Id. That is not content.
19          Third, plaintiff alleges that her keystrokes and mouse clicks categorically constitute contents, but
20   plaintiff is wrong. Second Am. Compl. ¶ 93. Keystrokes and mouse clicks can be used for a number of
21   purposes, such as navigating up or down on a webpage, without communicating any message, intended
22   or otherwise. See In re Zynga, 750 F.3d at 1106. Plaintiff must plausibly allege the specific message
23   she intended to communicate through her keystrokes and mouse clicks. Blue Nile, 2021 WL 1312771,
24   at *2. Because she has failed to do so here, her complaint must be dismissed.
25                          d)      Blue Nile’s Privacy Policy Forecloses Plaintiff’s Claims.

26          Plaintiff’s section 631(a) claim also fails because Blue Nile’s privacy policy disclosed that its

27   service providers, like FullStory, collect data from website visitors. As the Court noted before, section

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 1   631(a) imposes liability only “if a person secretly listens to another’s conversation.” Noom, 2021 WL
 2   1312765, at *4 (emphasis added) (citing Ribas v. Clark, 38 Cal. 3d 355, 359 (1985)). This is because
 3   “‘[e]avesdropping’ is the problem the Legislature meant to deal with” in enacting section 631. Rogers,
 4   52 Cal. App. 3d at 899. And to “‘eavesdrop’ is ‘to listen secretly to what is said in private.’” Id.
 5   (quoting Webster’s 7th New Collegiate Dictionary (1972)).
 6          FullStory’s data collection was not done in secret. The Court previously concluded that
 7   FullStory was an extension of Blue Nile because it was acting in its role as a service provider to Blue
 8   Nile. See Noom, 2021 WL 1312765, at *5 (“[A]s a service provider, FullStory is an extension of [Blue
 9   Nile].”). The privacy policy for Blue Nile’s website expressly disclosed to users like plaintiff that data
10   regarding their interactions with the website may be collected and that this data could be shared with
11   Blue Nile’s service providers. Dkt. 37-2 at 2–3. For example, the policy contains a section that
12   describes the data collection that occurs “when you navigate to our site.” Id. (capitalization omitted).
13   The policy discloses that the categories of data collected from website visitors includes “[i]nformation
14   gathered through cookies and other tracking technology,” “[d]evice and browser information,”
15   “[i]nformation gathered through web server logs,” and “[g]eneral location information.” Id. The policy
16   further provides that this data is shared with “service providers.” Id. The gravamen of plaintiff’s
17   complaint, meanwhile, is that when plaintiff “accessed Blue Nile’s website, [her] electronic
18   communications with Blue Nile”—i.e., her interactions with Blue Nile’s website—were “captured,
19   stored, and analyzed by FullStory.” Second Am. Compl. ¶ 77. This is precisely what was disclosed in
20   Blue Nile’s privacy policy.
21          In sum, the disclosures made in Blue Nile’s privacy policy render implausible plaintiff’s
22   conclusory allegation that FullStory’s data collection was surreptitious. See Second Am. Compl. ¶¶ 45,
23   77. For this additional reason, the Court should dismiss plaintiff’s eavesdropping claim.
24                  2.      Plaintiff Lacks Standing to Pursue—and Fails to State—a Claim for the Sale
25                          or Possession of Eavesdropping Software Under Section 635(a).
            Plaintiff lacks standing to bring, and fails to state, a claim against FullStory for the sale of, and
26
     Blue Nile for the possession of, a “device” that is “primarily or exclusively designed or intended for
27
     eavesdropping upon the communication of another.” See Cal. Penal Code § 635(a).
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 1          First, plaintiff continues to lack both statutory and Article III standing to bring a claim under
 2   section 635(a) for the same reasons this Court articulated in dismissing the prior complaint. Only those
 3   who have “been injured by a violation of this chapter [i.e., CIPA], may bring an action against the
 4   person who committed the violation.” Cal. Penal Code § 637.2(a). In the same vein, a plaintiff must
 5   have “suffered an injury in fact” to have Article III standing. Spokeo, Inc. v. Robins, 136 S. Ct. 1540,
 6   1547 (2016). Plaintiff continues to base her statutory and Article III standing on FullStory’s alleged
 7   eavesdropping. See Second Am. Compl. ¶¶ 1, 40–46, 58, 84. As explained above (supra at III.A.1.a),
 8   plaintiff fails to plausibly allege that FullStory was an eavesdropper and, thus, has not stated a claim
 9   under section 631(a). Without such a predicate violation of CIPA, plaintiff “does not have a private
10   right of action” under section 635(a) and “lacks Article III standing,” as this Court found in dismissing
11   the prior complaint. Blue Nile, 2021 WL 1312771, at *3.
12          Plaintiff’s new allegation that a “violation of section 635 [is] sufficient to confer Article III
13   standing” is both irrelevant and wrong. See Second Am. Compl. ¶ 106. It is irrelevant because, even
14   assuming that a “bare procedural violation” of section 635(a) were sufficient to establish an injury in
15   fact, contrary to established law (Spokeo, 136 S. Ct. at 1549), plaintiff’s claim still rests on her deficient
16   eavesdropping allegations: without plausibly alleging that the use of FullStory’s software amounts to
17   eavesdropping, as here, the software cannot be an eavesdropping “device” under section 635(a).
18   Plaintiff’s new allegation is also wrong. Plaintiff does not allege any injury from the mere sale or
19   possession of an alleged eavesdropping device, only the later use of it. See Second Am. Compl. ¶¶ 99–
20   107. And it would be “constitutionally problematic” to permit a plaintiff to bring a section 635(a) claim
21   in such circumstances because it would mean that “plaintiffs who suffered no injury in fact would still
22   be able to sue.” See Cohen v. Casper Sleep Inc., 2018 WL 3392877, at *5 (S.D.N.Y. July 12, 2018)
23   (interpreting analogous federal statute).
24          Second, plaintiff fails to state a claim because she does not plausibly allege that FullStory’s
25   software is a “device” within the meaning of section 635(a). Plaintiff alleges in conclusory fashion that
26   “FullStory’s code is a ‘device.’” Second Am. Compl. ¶ 104. But she has not “include[d] facts in [her]
27   pleading to show why [that] is so.” In re Facebook Internet Tracking Litig., 140 F. Supp. 3d 922, 937
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 1   (N.D. Cal. 2015) (rejecting a similarly conclusory allegation that software used to collect data from a
 2   website is a “device” and thus a “contrivance” for purposes of section 631(a)). Nor could she. The
 3   Oxford English Dictionary defines “devices” as “an invention, contrivance; esp. a mechanical
 4   contrivance (usually of a simple character) for some particular purpose.” Device, Oxford English
 5   Dictionary, https://www.oed.com/view/Entry/51464 (last visited May 25, 2021). FullStory’s software
 6   code is not a “mechanical contrivance,” and thus is not a “device.” While “device” may have other
 7   meanings, the rule of lenity that applies to section 635(a), as a penal statute, requires that any
 8   ambiguities be construed in FullStory’s favor. See LVRC Holdings LLC v. Brekka, 581 F.3d 1127, 1134
 9   (9th Cir. 2009) (applying rule of lenity to civil application of a penal statute).
10          Third, plaintiff also fails to state a claim because she does not plausibly allege that FullStory’s
11   software is “primarily or exclusively designed or intended for eavesdropping,” as required under section
12   635(a). To the contrary, plaintiff previously alleged that FullStory’s software is designed to provide
13   “marketing analytics” and to “help businesses improve their website design and customer experience,”
14   not to eavesdrop. Compl. ¶¶ 14–15. Perhaps recognizing that these admissions defeat plaintiff’s claim
15   under section 635(a), plaintiff removed them from her first and second amended complaint. But
16   plaintiff cannot avoid dismissal “by simply deleting [them] from [her] amended complaint.” J. Edwards
17   Jewelry Distrib., LLC. v. Wells Fargo & Co., 2019 WL 2329248, at *4 (N.D. Cal. May 31, 2019)
18   (considering prior allegations in dismissing amended complaint with prejudice). Plaintiff’s admission
19   supports the conclusion that FullStory’s software is best understood as “part of [the] routine internet
20   functionality” that makes digital commerce possible. See In re Facebook Internet Tracking Litig., 263
21   F. Supp. 3d 836, 846 (N.D. Cal. 2017) (“Facebook II”) (“[W]ebsites routinely embed content from
22   third-party servers in the form of videos, images, and other media, as well as through their use of
23   analytics tools, advertising networks, code libraries and other utilities.”).
24          Fourth, plaintiff fails to state a claim against Blue Nile because she alleges only that Blue Nile
25   “possesses” an eavesdropping device, which is not prohibited by the statute. See Second Am. Compl.
26   ¶ 103. Section 635(a) applies to any person who “manufactures, assembles, sells, offers for sale,
27   advertises for sale, possesses, transports, imports, or furnishes to another” any eavesdropping device.
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 1   Cal. Penal Code § 635(a). The statutory term “possesses” is ambiguous in light of the narrower terms,
 2   such as “manufactures” and “sells,” that surround it. See Yates v. United States, 574 U.S. 528, 537
 3   (2015) (finding “tangible objects” ambiguous in light of “the specific context in which that language is
 4   used”). When applying the related canons that a general word should be construed in a way that is
 5   similar to the surrounding words (noscitur a sociis) or the more specific words in a list (ejusdem
 6   generis), “possesses” must be construed as covering only those entities involved in the manufacture or
 7   sale of an eavesdropping device. See id. at 544–45. It cannot be construed as broadly covering any
 8   entity, like Blue Nile, that is alleged to merely possess such a device.
 9          B.      Blue Nile and FullStory Are Not Subject to Personal Jurisdiction In California.
10          Plaintiff once again fails to meet her prima facie burden to establish specific jurisdiction over
11   Blue Nile and FullStory because plaintiff continues to predicate specific jurisdiction on her deficient
12   eavesdropping allegations (supra at III.A.1).6 See Second Am. Compl. ¶ 15 (alleging, for example, that
13   FullStory “knows it is wiretapping users in California”). For that reason, the Court should again find
14   that, because plaintiff did not plausibly plead wiretapping, plaintiff has not met her prima facie burden to
15   establish specific personal jurisdiction over either defendant. Blue Nile, 2021 WL 1312771, at *3.
16          Even if plaintiff had plausibly alleged wiretapping by FullStory, such allegations would not
17   provide a basis for specific jurisdiction over FullStory of Blue Nile. Id. (assuming without deciding that
18   plausible wiretapping allegations could confer personal jurisdiction). To justify specific jurisdiction
19   over a defendant in suits sounding in tort, as here, a plaintiff must show that (1) the defendant
20   “purposefully directed” its activities toward the forum state, and (2) the claims “arise[] out of or relate[]
21   to” the defendant’s forum-related activities. Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797,
22   802 (9th Cir. 2004). Only if the plaintiff makes that showing does the burden then shift to the defendant
23   to show that (3) the exercise of jurisdiction would not be reasonable. Id.
24

25
     6
26     Plaintiff does not allege that the Court has general jurisdiction over Defendants. See Second Am.
     Compl. ¶¶ 13, 15–18 (alleging personal jurisdiction only under theories of specific jurisdiction); Dkt. 39
27   at 1 (arguing only that “[t]he Court has specific personal jurisdiction over defendants.”) (capitalization
     omitted).
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 1          First, plaintiff fails to show that FullStory, a Georgia-based company incorporated in Delaware,
 2   purposefully directed its activities toward California. To show purposeful direction, plaintiff must, at a
 3   minimum, allege facts showing that FullStory’s alleged wiretapping was “expressly aimed” at
 4   California, and that FullStory caused harm that it “knows is likely to be suffered in” California. Axiom
 5   Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1069 (9th Cir. 2017) (citations omitted). While
 6   plaintiff alleges conclusory statements in this regard, those statements are insufficient because they are
 7   premised on Blue Nile’s conduct. Second Am. Compl. ¶¶ 7, 15 (alleging that “Blue Nile’s customer
 8   base” comprises California residents, and that “Blue Nile actively advertises its products in California”).
 9   As this Court recognized, “[a] vendor’s selling a product to Blue Nile—even if Blue Nile had substantial
10   business [in California] and the vendor knew it—does not establish specific personal jurisdiction over
11   the vendor.” Blue Nile, 2021 WL 1312771, at *3. To be sure, plaintiff alleges that FullStory “wiretaps
12   geolocation information.” Second Am. Compl. ¶ 15. But this allegation does not help plaintiff: if
13   FullStory were only aware that its wiretap reached California after geolocation data had been collected,
14   then that fails to show that FullStory expressly aimed its conduct at California, or knew that harm was
15   likely to be suffered there.
16          Likewise, plaintiff fails to show that Blue Nile, a Washington-based company incorporated in
17   Delaware, purposefully directed its activities toward California. Plaintiff relies on the fact that
18   California has a substantial market, and attempts to infer from that and other inconsequential allegations
19   that Blue Nile, as the operator of a website with a “national viewership,” necessarily targeted California
20   in particular. Second Am. Compl. ¶¶ 15–18. This is insufficient. At a minimum, plaintiff must show
21   that California is an “integral component” of Blue Nile’s “business model and its profitability.” Voodoo
22   SAS v. SayGames LLC, 2020 WL 3791657, at *4 (N.D. Cal. July 7, 2020) (finding no purposeful
23   direction where company distributed gaming app in the United States more generally). Plaintiff has
24   failed to do so. This Court should reject plaintiff’s attempt to create “de facto universal jurisdiction”
25   over a website operator in any large market where its website is accessible, which is incompatible with
26   the Supreme Court’s personal jurisdiction jurisprudence. See Advanced Tactical Ordnance Sys., LLC v.
27   Real Action Paintball, Inc., 751 F.3d 796, 801–02 (7th Cir. 2014).
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 1          Second, plaintiff fails to show that her claims arise out of or relate to FullStory’s or Blue Nile’s
 2   forum-related activities. None of FullStory’s or Blue Nile’s challenged conduct has anything to do with
 3   California in particular. Although plaintiff experienced her alleged harm in California, it is not tethered
 4   to the forum in a “meaningful way” because plaintiff would have experienced the same alleged harm
 5   wherever else she might have accessed Blue Nile’s website. See Walden v. Fiore, 571 U.S. 277, 290
 6   (2014). The effects of FullStory’s and Blue Nile’s alleged conduct on plaintiff is therefore “not
 7   connected to the forum State in a way that makes those effects a proper basis for jurisdiction.” Id. (no
 8   jurisdiction over a Georgia defendant where plaintiffs would have experienced the same injury
 9   “wherever . . . they might have traveled and found themselves”); Picot v. Weston, 780 F.3d 1206, 1215
10   (9th Cir. 2015) (no jurisdiction over a defendant in California where plaintiff’s alleged injury “would
11   follow him wherever he might choose to live or travel”).
12          Third, while plaintiff has not met her burden under the first two prongs, the exercise of specific
13   jurisdiction over FullStory and Blue Nile would also be unreasonable. All seven of the Ninth Circuit’s
14   reasonableness factors weigh heavily against exercising specific jurisdiction: (1) FullStory and Blue Nile
15   did not purposefully inject themselves into California’s affairs, as set forth above (supra at III.A.1); (2)
16   defending claims in California will, and already has, placed an undue burden on FullStory, a Georgia-
17   based company, and Blue Nile, a Washington-based company, with no direct ties here; (3) the claims
18   conflict with the sovereignty of the state where FullStory is headquartered (Georgia) because there are
19   no analogous claims under Georgia law, see Ga. Code Ann. § 16-11-66(a) (requiring only one party’s
20   consent to wiretapping); (4) California does not have a strong interest in regulating FullStory’s conduct
21   in Georgia and Blue Nile’s conduct in Washington; (5) no particular judicial efficiencies are gained in
22   California; (6) this forum is not important to plaintiff’s interest in convenient and effective relief, as
23   plaintiff’s counsel has demonstrated the ability to bring similar wiretapping suits throughout the country;
24   and (7) Georgia (as to FullStory) and Washington (as to Blue Nile) or Delaware present adequate
25   alternative forums. See CollegeSource, Inc. v. AcademyOne, Inc., 653 F.3d 1066, 1079 (9th Cir. 2011).
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 1   IV.    CONCLUSION
 2          For the foregoing reasons, this Court should dismiss plaintiff’s second amended complaint as to

 3   Blue Nile and FullStory with prejudice.

 4    DATED: May 27, 2021                            COVINGTON & BURLING LLP
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